
Mr. Justice Clieeokd
delivered the opinion of the court:
Additional compensation is claimed by the respective appellants, as employés in the civil service of the United States in *121this city, by virtue of the Joint Resolution of the 28th of February, 1867, which provides that 20 per cent, additional compensation shall be allowed and paid to cercain classes of such employs in Washington as therein designated.
Civil officers, whose annual salaries do not exceed $3,500, and all clerks, whether temporary or permanent, and messengers and watchmen, are specifically named in the resolution, including enlisted men detailed as such, and the provision is that the additional allowance shall be computed upon the gross amount of the compensation received by such employé as fixed by law, or where no salary is fixed by law, upon the pay of the employé for that fiscal year, and that the benefit of the resolution shall extend to employés, male and female, in the Executive Mansion, and in any of the following-named Departments, or any Bureau or division thereof, to wit, State, Treasury, War, Navy, Interior, Post-Office, Attorney-General, and Agricultural, and including civil officers, and all clerks and employés, male and female, in the offices of the Coast Survey, Naval Observatory, navy-yard, arsenal, Paymaster-General, Bureau of Refugees, Freedmen and Abandoned Lands, Quartermasters, Capitol and Treasury extension, city post-office, and Commissioner of Public Buildings; to the photographer and assistant photographer of the Treasury Department; to the superintendent of meters, and to lamp-lighters under the Commissioner of Public Buildings.
Judgments rendered by the Court of Claims, involving controversies of a like character, were removed into this court by appeal on a former occasion, when it became the duty of this court to examine the joint resolution in question, and to determine what, in the judgment of the court, is its actual scope and true intent and meaning, as applied to the several cases then before the court.
Attempt was then made in argument to convince the court that the words of the resolution, “in the civil service of the United States,” as there employed, should be restricted to persons filling offices or holding appointments established by law; but the court rejected that narrow construction of the phrase, and unanimously decided that neither a commission nor a warrant of appointment is necessary to entitle an employé to the benefits of the joint resolution, provided he was actually and properly employed in the Executive Mansion, or in any of the *122Departments, or in any bureau or division thereof, or in any of the offices specifically designated in the said joint resolution; that persons so employed here are properly to be regarded as employés in the civil service of the United States within the true intent and meaning of that phrase as there used, if they were employed by the head of the Department, or of the Bureau, or any division of the Department, charged with that duty and authorized to make such contracts and fix the compensation of the person or persons employed, even though the particular employment may not be designated in an appropriation act. (Twenty-per-cent. Cases, 13 Wall., p. 576.)
Such was the unanimous opinion of the court as to the true construction of the joint resolution under consideration on that occasion, and the court, with equal unanimity, adheres to that conclusion in the cases before the court.
Many persons, not employed as clerks or messengers of a Department, are in the public service by virture of an employment by the head of a Department, or by the head of some Bureau of a Department, or division thereof, authorized to make such contracts, and such persons are as much in the civil service of the United States, within the meaning of the joint resolution, as the clerks and messengers employed in the rooms of the Department building. (United States v. Bellew, 2 Brock., p. 280; Graham v. United States, 1 C. Cls. R., p. 380; Com. v. Sutherland, 3 S. &amp; R., p. 149.)
Much discussion of that topic, however, is unnecessary, as the question was explicitly determined in our former decision, to which reference is made for a full exposition of the present views of the court upon that subject.
Grant all that, still it is insisted that the joint resolution has been repealed since that decision was made, and that the effect of the repealing act is to bar the right of recovery in all of the cases under consideration; in support of which proposition reference is made to the fourth section of the appropriation act of the 12th of July, 1870, which enacts that all acts and joint resolutions, or parts thereof, and all resolutions of either House of Congress granting extra compensation or pay be, and the same are hereby, repealed, to take effect on the 1st day of July in the same year. (16 Stat. L., p. 250.)
Two propositions are submitted by the United States, based upon that repealing act, to show that the respective appellants *123in these cases cannot recover: (1) That the repeal of the joint resolution prevents the officers of the Treasury from paying the additional compensation after the date of its passage. (2) That the repealing act, even if the resolution created an implied contract and gave jurisdiction to the Court of Claims to enforce it, divested the Court of Claims of all jurisdiction in such controversies.
Both of the propositions, as it seems to the court, overlook the material facts of the case, all of which are undisputed. They are as follows: (1) That the joint resolution ceased to be operative at the end of the fiscal year in which it was enacted. (2) That such additional compensation is allowed only for that year. (3) That the qlaims in these cases are only for such additional compensation during that fiscal year. (4) That the joint resolution ceased to be operative at the close of that fiscal year. (5) That the right to such additional compensation became fixed and vested when the yeaFs services were faithfully performed. (6) That. the repealing act, which it is supposed constitutes a bar to the cause of action in these cases, did not become a law until more than three years after the right to the additional compensation had become fixed and vested, and the joint resolution had ceased to be operative in respect to prospective services.
Viewed in the light of these suggestions, grave doubts arise whether the repealing act in question applies at all to the joint resolution, as it is difficult to believe that the Congress would deem it necessary to repeal a provision which had expired by its own limitation more than three years before they acted upon the subject.
Mere supererogation, however, it is said, cannot properly be imputed to the national legislature, and there would be much force in the suggestion if the joint resolution had at that time been in operation and had been the only provision of the kind to which the descriptive words of the repealing act would apply; but the fact is plainly otherwise, as there are several acts of corresponding import which were in full force at that date, and which, it must be admitted, are unquestionably included within those descriptive words. (12 Stat. L., p. 587; 14 Stat. L., p. 206; 15 id., 77.)
Enough appears in the repealing act itself to show that Con- . gress did not intend to give it any retroactive effect, except as *124therein provided, as the act expressly enacts that the provision in question shall take effect on the 1st day of July next before the day it was approved; which affords a demonstration that Congress never intended that it should retroact to any other or greater extent. (16 Stat. L., p. 250.)
Courts of justice agree that no statute, however positive in its terms, is to be construed as designed to interfere with existing contracts, rights of action, or with vested rights, unless the intention that it shall so operate is expressly declared or is to be necessarily implied, and pursuant to that rule courts will apply new statutes only to future cases, unless there is something in the nature of the case or in the language of the new provision which shows that they were intended to have a retroactive operation. Even though the words of a statute are broad enough in their literal extent to comprehend existing cases, they must yet be construed as applicable only to cases that may hereafter arise, unless the language employed expresses a contrary intention in unequivocal terms. (Potter’s Dwarris, 161; Wood v. Oakley, 11 Paige, 403; Butler v. Palmer, 1 Hill, 325; Jarvis v. Jarvis, 3 Edw. Ch., 466; McEwen v. Bulkley, 24 How., 242; Harvey v. Tyler, 2 Wall., 329; Blanchard v. Sprague, 2 Sum., 535; United States v. Heth, 3 Cran, p. 399.)
Such a law, if passed by a State, and construed to have the effect claimed for it in this case by, the appellants, would be unconstitutional and void. But it is not necessary to discuss any such proposition in this case, as there is not a word in the repealing act to support the conclusion that Congress intended to rescind any antecedent contract, or to enact any bar to the right of recovery in such cases, where the service had been faithfully performed before the repealing act was passed.
Apply those rules to the cases before the court, and it is clear the appellees in the first twelve are entitled to recover, as the finding of the court below shows that the claimant in each of those cases is included within the joint resolution, as construed and defined by this court. But the other two claimants, to wit, The United States v. O. H. O. Hoffman, and Same v. George A. Bell, are not entitled to recover, the former because he was employed as sexton at the Arlington cemetery, in the State of Virginia, and not “in Washington,” and consequently his claim is not within the words of the joint resolution. Nor *125was tbe latter in the civil service of the United States within the meaning of that provision, as he was a plate-printer, working under a contract, at an agreed rate “ per one hundred sheets of face printing and per one hundred sheets of back printing.” He employed an assistant, for whose compensation he was responsible ; but the finding of the subordinate court shows that the assistant was paid directly by the disbursing officer, and that the sum thus paid was deducted from the gross earnings of the claimant. Suffice it to say that the claimant was a contractor, and that he employed another to do most or all of the work, and in the judgment of the court such a contractor is not entitled to the additional compensation allowed and directed to be paid by the joint resolution under consideration.
Judgment affirmed in the twelve cases first named. Judgment reversed in the two cases last named, and the causes remanded, with directions to dismiss the respective petitions.
